Case 3:16-cv-00544-SMY-MAB Document 226 Filed 08/27/19 Page 1 of 15 Page ID #5568



                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             SOUTHERN DISTRICT OF ILLINOIS

   GERRY ARMBRUSTER,                                       )
                                                           )
                           Plaintiff,                      )
                                                           )
                           v.                              )       Case No. 16 C 0544
                                                           )
   BHARAT SHAH, et al.,                                    )       Hon. Staci M. Yandle, Judge
                                                           )
                           Defendants.                     )       Hon. Mark A. Beatty, Mag. Judge

                    PLAINTIFF’S RESPONSE TO DEFENDANT WILFORD’S
                     OBJECTIONS TO REPORT AND RECOMMENDATION

           Plaintiff GERRY ARMBRUSTER, by his attorneys, LOEVY & LOEVY, hereby

   responds to Defendant Wilford’s Objections to Report and Recommendation (Doc. No. 220) and

   asks this Court to overrule the objections and adopt Magistrate Judge Beatty’s recommendation

   in its entirety (Doc. 219). In support, Plaintiff states as follows:

                                                Introduction

           Plaintiff Gerry Armbruster suffered a severe spinal cord compression in 2014 while at

   Southwestern Illinois Correctional Center (“SWICC”). Despite his persistent complaints of

   neurological symptoms and requests for adequate medical attention, Defendants refused to

   provide him with proper evaluation or treatment, which has left him with permanent neurological

   damage.

           Plaintiff subsequently filed this lawsuit, and Defendants moved for summary judgment

   on each one of Plaintiff’s claims. On July 23, 2019, in a well-reasoned and thoroughly supported

   report, Judge Beatty recommended that this Court grant summary judgment to Wexford on

   Plaintiff’s section 1983 claim against it and deny summary judgment to Defendants in all other
Case 3:16-cv-00544-SMY-MAB Document 226 Filed 08/27/19 Page 2 of 15 Page ID #5569



   respects. 1 In support of his recommendation, Judge Beatty discussed in detail the evidence

   marshalled against each Defendant, and applied that evidence to the applicable precedents

   governing Plaintiff’s claims.

           Nurse Wilford now objects to Judge Beatty’s recommendation that Plaintiff be permitted

   to try his section 1983 claims against her to a jury. Raising arguments never presented to Judge

   Beatty in the motion for summary judgment or reply, Nurse Wilford argues that no reasonable

   jury could find that she knew of Armbruster’s neurological symptoms during the last month of

   his incarceration, or that she ever connected the dots between his neurological symptoms and the

   risk of harm he faced as a result. Wilford also objects to Judge Beatty’s determination that the

   evidence supports a finding that even a lay person would know that Dr. Shah’s course of

   treatment was blatantly inappropriate.

           Nurse Wilford ignores all of the key evidence against her, including her numerous

   statements under oath that Armbruster regularly complained to her of his alarming symptoms

   that she neither documented or reported, or otherwise took action to address. Other evidence is

   presented in the light most favorable to Nurse Wilford, rather than in the light most favorable to

   Armbruster (the nonmoving party) as Rule 56 requires.

           When viewed in the correct light, the evidence plainly supports a conclusion that Nurse

   Wilford acted with deliberate indifference to Plaintiff’s serious medical need and failed to

   intervene to ensure that Plaintiff received adequate care at SWICC. This Court should therefore

   overrule Nurse Wilford’s objections and adopt Judge Beatty’s recommendation to deny Nurse

   Wilford’s motion for summary judgment.



   1
          Magistrate Judge Beatty did not rule on Defendant Vitale’s motion for summary judgment
   because Plaintiff and Defendant Vitale reached a settlement in this case, mooting Vitale’s summary
   judgment motion. See Doc. 210.


                                                      2
Case 3:16-cv-00544-SMY-MAB Document 226 Filed 08/27/19 Page 3 of 15 Page ID #5570



                                            Standard of Review

             District courts review de novo those portions of a magistrate judge’s report and

   recommendation on a summary judgment motion to which objection is made. 28 U.S.C.

   § 636(b)(1). When considering a motion for summary judgment, the evidence must be viewed in

   the light most favorable to the nonmoving party, and that party must be granted all reasonable

   inferences from the evidence. Riker v. Lemmon, 798 F.3d 546, 551 (7th Cir. 2015).

   Circumstantial evidence is entitled to equal weight, especially in cases like this one that “turn on

   circumstantial evidence . . . .” Petties v. Carter, 836 F.3d 722, 728 (7th Cir. 2016) (en banc).

                                                 Argument

             Judge Beatty concluded, following a thorough review of the evidence in this case, that a

   reasonable jury could determine that Nurse Wilford knew of, but consciously disregarded, a

   serious risk to Armbruster’s health. Doc. 219 at 31-33; see also Petties, 836 F.3d at 728

   (discussing the elements required to prove a deliberate indifference claim). Judge Beatty also

   concluded that the evidence permitted a determination that Nurse Wilford knew that Armbruster

   was receiving constitutionally deficient medical care, had a realistic opportunity to take action,

   but did nothing. Doc. 219 at 42 (citing Gill v. City of Milwaukee, 850 F.3d 335, 342 (7th Cir.

   2017)).

             Nurse Wilford objects to Judge Beatty’s recommendation to deny summary judgment to

   her on both Plaintiff’s deliberate indifference claim and his failure-to-intervene claim against

   her. As to the first claim, Nurse Wilford takes issue with the inference that she was aware of

   Plaintiff’s persistent neurological complaints or (for the first time on appeal) that she knew that

   these symptoms posed a risk to Plaintiff’s health. As to the failure-to-intervene claim, Nurse

   Wilford contends that because Defendants retained an expert blessing Dr. Shah’s medical care,




                                                      3
Case 3:16-cv-00544-SMY-MAB Document 226 Filed 08/27/19 Page 4 of 15 Page ID #5571



   no reasonable jury could determine that Nurse Wilford failed to intervene. Nurse Wilford’s

   arguments are forfeited and meritless, and this Court should adopt Judge Beatty’s well-supported

   and -reasoned recommendation to deny summary judgment on Plaintiff’s claims against her.

   I.     This Court Should Overrule Nurse Wilford’s Objection Regarding Plaintiff’s
          Deliberate Indifference Claim Against Her.

          To prevail on his deliberate indifference claims, Plaintiff must prove that he suffered

   from an objectively serious medical condition, and that Defendants were aware of, and

   consciously disregarded, a serious risk of harm to Plaintiff. Petties, 836 F.3d at 728 (citing

   Farmer v. Brennan, 511 U.S. 825, 834 (1994)); Ortiz v. Webster, 655 F.3d 731, 734 (7th Cir.

   2011). Plaintiff must show that the defendant “know facts from which he could infer that a

   substantial risk of serious harm exists and he must actually draw the inference.” Rasho v. Elyea,

   856 F.3d 469, 476 (7th Cir. 2017). But a defendant cannot immunize herself from liability from

   claiming ignorance: “where evidence exists that the defendant[] knew better than to make the

   medical decision[] that [she] did,” summary judgment is improper. Whiting v. Wexford Health

   Sources, Inc., 839 F.3d 658, 662 (7th Cir. 2016); see also Petties, 836 F.3d at 728-29 (“[A]

   plaintiff must provide evidence that an official actually knew of and disregarded a substantial

   risk of harm” but “plaintiffs generally lack direct evidence of actual knowledge” and thus

   “[m]ost cases turn on circumstantial evidence, often originating in a [medical professional’s]

   failure to conform to basic standards of care”).

          Nurse Wilford contends that there is insufficient evidence that she knew of facts from

   which she could infer a substantial risk to Armbruster’s health, or that she actually drew that

   inference. She does not contest that, if proven, her response to that awareness was deficient.




                                                      4
Case 3:16-cv-00544-SMY-MAB Document 226 Filed 08/27/19 Page 5 of 15 Page ID #5572



           A.      A reasonable jury could find that Nurse Wilford was well aware of
                   Armbruster’s persistent neurological symptoms.

           Nurse Wilford’s own testimony is sufficient to support a jury finding that she knew

   Armbruster was suffering from persistent pain, numbness, and tingling in his back and limbs for

   a period of months. As Judge Beatty recounted, Nurse Wilford testified to remembering

   Armbruster “because ‘he would come to sick call and complain of numbness and tingling in his

   arm, and he did it frequently,’ meaning ‘once a week at least.’” Doc. 219 at 16 (citing Doc. 157-

   4 (Wilford Dep.) at 4-5). 2 Armbruster, she explained, would “wear the hell out of you” with

   complaints about his symptoms. Id. (citing Doc. 157-4 at 6-7). According to Wilford, Armbruster

   “complained to anybody that would listen to him . . . .” Doc. 157-4 at 5. Wilford estimated that

   Armbruster raised these complaints for “more than six months” and admitted that he

   “complained until he left” SWICC. Id. at 4.

           Although she later attempted to retract this testimony, Judge Beatty noted that her initial

   descriptions are consistent with “Armbruster’s own testimony that he frequently complained to

   medical personnel about his symptoms” and “that some of his problems, like the difficulty he

   had walking, were obvious to anyone who saw him.” Doc. 219 at 32. Indeed, Armbruster

   testified at his deposition that “every time there would be a nurse I’d be telling them what’s

   going on.” Doc. 157-7 at 14. According to Armbruster, what was going on included persistent

   neurological issues and pain: “What I remember there was no coming and going. It was on every

   day. It just kept getting worse. Wasn’t like a headache. It just kept getting worse. Wasn’t like a

   headache. It was constant all the time. It was pure hell.” Id. at 21.




   2
           Like Judge Beatty, Plaintiff refers to the page number of the filed document, and not the
   particular page of the deposition transcript.



                                                       5
Case 3:16-cv-00544-SMY-MAB Document 226 Filed 08/27/19 Page 6 of 15 Page ID #5573



          Nurse Wilford concedes that the evidence supports a conclusion that she was made aware

   of Plaintiff’s neurological complaints between May 13, 2014 and August 1, 2014. Doc. 220 at 2

   (describing June 23, 2014 as the last appointment Wilford attended “related to [Plaintiff]’s

   complaints of tingling and numbness). This concession itself defeats Wilford’s objection. See

   Doc. 219 at 32-33 (“[A] jury might reasonably conclude that Nurse Wilford repeatedly

   encountered Armbruster in severe pain and complaining that his arm was numb, that he was

   having trouble walking, and that he needed help beyond what Dr. Shah was providing, but Nurse

   Wilford did, literally, nothing about it.”); see also Zaya v. Sood, 836 F.3d 800, 806 (7th Cir.

   2016) (four weeks of inaction by medical staff sufficient to create material question of fact as to

   staff’s deliberate indifference); Petties, 836 F.3d at 730 (delay in providing treatment is

   actionable if it “exacerbated the injury or unnecessarily prolonged pain”); Lewis v. McLean, 864

   F.3d 556, 563 (7th Cir. 2017) (“even brief, unexplained delays in treatment may constitute

   deliberate indifference”).

          But Nurse Wilford’s contention that she was not aware of Plaintiff’s neurological

   complaints during the August 1 and September 9 appointments is also flatly contradicted by her

   own testimony and other evidence in the record. As noted above, Wilford admitted at her

   deposition that Armbruster raised neurological complaints persistently until he was released from

   SWICC. This admission indicates that she was aware both of Mr. Armbruster’s complaints, and

   of Dr. Shah’s refusal to provide an evaluation or treatment of those complaints. Plaintiff

   similarly testified that his neurological symptoms persisted from May 2014 until after his release,

   and that he voiced those symptoms to any nurse he encountered.

          Armbruster’s medical records similarly suggest that Nurse Wilford was aware of his

   symptoms from May 13 until he left SWICC, as Judge Beatty observed. Id. Nurse Wilford




                                                     6
Case 3:16-cv-00544-SMY-MAB Document 226 Filed 08/27/19 Page 7 of 15 Page ID #5574



   documented Armbruster’s complaints of persistent pain, tingling, and numbness in his medical

   chart on May 13, 2014. Doc. 157-8 at 86. Although she never documented his complaints again,

   other medical professionals did, in notes that Nurse Wilford would have seen during the nine

   occasions she saw Armbruster after May 13. Doc. 157-4 at 24. Specifically, Nurse Wilford

   testified that if a patient raised a complaint that he had raised previously, she would review the

   chart to understand the history of the complaint. Id. (“If [the patient] has a history or something,

   I’m going to go back and review [the medical file].”). And both Armbruster and Wilford testified

   that Armbruster raised the same neurological complaints each time he encountered Nurse

   Wilford and the other nurses at SWICC. Additionally, a jury could find it implausible that

   Armbruster would have reported his symptoms to some members of the medical staff (those who

   documented his complaints) but not to Nurse Wilford, especially considering her testimony that

   he complained of his symptoms to her with great regularity. As Judge Beatty put it,

   “Armbruster’s reported symptoms were documented all over his chart—the same chart Nurse

   Wilford reviewed and took notes in when she saw Armbruster, which makes it seemingly

   implausible that Nurse Wilford was unaware of Armbruster’s complaints.” Doc. 219 at 32.

          Nurse Wilford contends that there is no evidence that Armbruster ever reported “severe

   pain” to her. Doc. 220 at 3. Armbruster, however, testified that he suffered pain, tingling, and

   numbness “every day”; the symptoms were “constant” and were “pure hell.” Doc. 219 at 13;

   Doc. 157-7 at 21. Armbruster reported his symptom “every time there would be a nurse . . . .”

   Doc. 157-7 at 14. The medical records corroborate Armbruster’s testimony, including to Nurse

   Wilford on May 13, 2014 as documented in her own medical note from that date. Doc. 219 at 5;

   Doc. 157-8 at 86. Nurse Maston also noted on Armbruster’s chart that he rated his pain as a “10”

   on September 4, 2014. Doc. 219 at 14; Doc. 157-8 at 106. And Nurse Wilford herself testified




                                                     7
Case 3:16-cv-00544-SMY-MAB Document 226 Filed 08/27/19 Page 8 of 15 Page ID #5575



   that Armbruster would “complain[] to anybody that would listen” about his symptoms, id. at 14,

   16, and she noted “pain” as one of his symptoms when she saw him on May 13. Id. at 5. If all of

   this evidence is credited, as it must be at summary judgment, a reasonable jury could easily find

   that Nurse Wilford was made aware of Armbruster’s severe pain. 3

           Nurse Wilford also states in her objection that “the last time she saw Plaintiff for an

   appointment related to his complaints of tingling and numbness (June 23, 2014) he reported to

   Dr. Shah that he was feeling better and then Plaintiff stopped reporting tingling and numbness

   altogether.” Doc. 220 at 2. This statement sets forth two disputed facts in the light most favorable

   to Nurse Wilford—a clear violation of Rule 56. First, Armbruster disputes that he told Dr. Shah

   he was feeling better. Doc. 157-7 at 21. Additionally, there is substantial evidence contradicting

   Nurse Wilford’s claim that Armbruster stopped voicing neurological complaints after June 23,

   including her own admissions, Doc. 157-4 at 4, Armbruster’s testimony, Doc. 157-7 at 21, and

   the medical records themselves, Doc. 157-8 at 103 (July 2, 2014). And Nurse Wilford’s

   contention that Armbruster showed no neurological deficits upon testing, Doc. 220 at 2, is

   misleading and contradicted by the record, as Judge Beatty explained in exhaustive detail. Doc.

   219 at 6-7, 9-11, 28-29 (“Dr. Shah’s stated excuse that there were no objective findings of a

   neurological issue is directly contradicted by the medical records.”).

           In sum, the evidence in this record is more than sufficient to lead a reasonable jury to the

   conclusion that Armbruster told Nurse Wilford about his neurological complaints repeatedly and

   consistently between May 13, 2014 and September 15, 2014, when Armbruster was released

   from prison.

   3
           Nurse Wilford also contends that “it is undisputed” that Plaintiff carried a 150-pound machine up
   two flights of stairs and compressed a power paddle on a scrubbing and buffing machine for more than an
   hour. Doc. 220 at 3-4. Simply put, this statement is clearly disputed and Nurse Wilford has not disclosed
   any witnesses that will provide support for this statement. See, e.g., Doc. 157-7 at 16, 43-44
   (Armbruster’s job was to fill “little Windex bottles” and drop them off at other housing units).


                                                       8
Case 3:16-cv-00544-SMY-MAB Document 226 Filed 08/27/19 Page 9 of 15 Page ID #5576



          B.      A reasonable jury could find that Nurse Wilford knew that Armbruster’s
                  symptoms posed a substantial risk of harm.

          The evidence in this record is also sufficient to support a reasonable jury’s finding that

   she knew Armbruster’s persistent symptoms were serious enough to require further treatment.

   Doc. 219 at 32-33. Specifically, Nurse Wilford testified that the neurological symptoms

   Armbruster raised are an “emergency,” “something you don’t just brush off” and something that

   requires a cervical collar and an immediate trip to the emergency department. Doc. 219 at 17–18;

   Doc. 157-4 at 32, 41; see also id. at 31 (admitting that severe spinal cord compression with cord

   signal change is “a serious medical condition”—one that even “a laym[a]n would know . . . is

   wrong.”). This evidence would directly support a jury’s conclusion that Nurse Wilford knew that

   Armbruster’s neurological symptoms posed a substantial risk of harm. Farmer, 511 U.S. at 836.

          But there is other circumstantial evidence in the record to support this conclusion. First,

   Nurse Wilford admitted that a person with spinal cord compression would exhibit “[p]ain,

   numbness, maybe some impairment in movement”—the same symptoms that Wilford

   acknowledges Armbruster raised with her repeatedly between May 13 and September 15. Doc.

   157-4 at 119; see also id. at 4 (recalling that Armbruster “frequently” complained of numbness

   and tingling); Doc. 157-7 at 14 (recalling that he would tell staff about his symptoms “every time

   there would be a nurse”). Evidence that Nurse Wilford recognized the symptoms Armbruster

   reported to her as those that occur in a patient with spinal cord compression is sufficient itself to

   lead a reasonable jury to the conclusion that Nurse Wilford was aware that Plaintiff faced a

   substantial risk of harm without treatment. See Sherrod v. Lingle, 223 F.3d 605, 611 (7th Cir.

   2000) (evidence that plaintiff suffered symptoms consistent with appendicitis sufficient to defeat

   summary judgment on defendants’ awareness of risk to plaintiff’s health). And even Nurse

   Wilford herself admits that the risk of harm to a person experiencing persistent numbness and



                                                     9
Case 3:16-cv-00544-SMY-MAB Document 226 Filed 08/27/19 Page 10 of 15 Page ID #5577



   tingling is obvious. Doc. 157-4 at 31, 158; Farmer, 511 U.S. at 842 (“Whether a prison official

   had the requisite knowledge of a substantial risk is a question of fact subject to demonstration in

   the usual ways, including . . . from the very fact that the risk was obvious.”).

           Nurse Wilford denies that a reasonable jury could find Armbruster’s complaints would

   have alerted her to his serious medical need. Doc. 220 at 2. Her ignorance of his condition is

   evidenced, she contends, by the fact that “she first documented Plaintiff’s complaint as a

   ‘pinched nerve.’” Id. First, as Judge Beatty concluded, a jury could reasonably discredit Nurse

   Wilford’s statement that she believed Plaintiff’s symptoms were caused by a pinched nerve

   based on the evidence discussed above. Doc. 219 at 31-32. But even if the jury credits her

   testimony, this fact is not helpful to her, particularly when viewed in the light most favorable to

   Armbruster. In that light, the “pinched nerve” note is confirmation that Nurse Wilford knew from

   the very beginning that Armbruster was potentially suffering from a serious neurological

   problem. See Doc. 157-4 at 30 (recognizing that pressure against a nerve can cause numbness

   and tingling that “would not be normal”); Doc. 219 at 24 (citing Perez v. Sullivan 2002 WL

   32362248, at *4 (W.D. Wis. Apr. 30, 2002), aff’d, 52 F. App’x 275 (7th Cir. 2002)

   (“Unquestionably, a spinal injury [consisting of a herniated disc and pinched nerve] is a serious

   medical condition that carries a risk of grave and permanent impairment.”)). 4




   4
            Nurse Wilford also contends that Armbruster’s medical records show he was being monitored for
   “non-serious conditions” like arthritis and a lumbar sprain. Doc. 220 at 2-3. First, the cited medical record
   reflects that on May 28, 2014 Armbruster again reported pain, tingling, and numbness, Doc. 133-1 at
   239-40; Doc. 157-3 at 62, providing strong support for Plaintiff’s claim that Wilford was both made
   aware of Plaintiff’s persistent neurological complaints and appreciated the serious risk of harm that those
   persistent symptoms posed to Armbruster. Additionally, as Judge Beatty found, a jury could reasonably
   disbelieve the suggestion that medical staff believed Armbruster’s neurological complaints were “non-
   serious.” Doc. 219 at 28-30.


                                                        10
Case 3:16-cv-00544-SMY-MAB Document 226 Filed 08/27/19 Page 11 of 15 Page ID #5578



   II.    A Reasonable Jury Could Conclude that Nurse Wilford Failed to Intervene to
          Ensure Plaintiff Received Adequate Care.

          Nurse Wilford does not dispute that, having been made aware of Armbruster’s

   neurological symptoms and the serious risk of harm to Armbruster from those symptoms, her

   failure to document those complaints constituted deliberate indifference. Doc. 219 at 31-33; see

   generally Doc. 220. She does, however, object to Judge Beatty’s conclusion that a reasonable

   jury could find that she failed to intervene to ensure that Armbruster received constitutionally

   adequate care. Doc. 219 at 32-33, 42-43. To succeed on a section 1983 failure-to-intervene

   claim, Plaintiff must show that Nurse Wilford “knew [Plaintiff] was receiving constitutionally

   deficient medical care and had a realistic opportunity to prevent the harm from occurring but

   failed to do so.” Doc. 219 at 42 (citing Gill, 850 F.3d at 342); Lanigan v. Vill. of E. Hazel Crest,

   110 F.3d 467, 477-78 (7th Cir. 1997). The Seventh Circuit has repeatedly held that “[w]hile

   nurses may generally defer to instructions given by physicians, they have an independent duty to

   ensure that inmates receive constitutionally adequate care.” Perez v. Fenoglio, 792 F.3d 768, 779

   (7th Cir. 2015); see also Rice ex rel. Rice v. Corr. Med. Serv., 675 F.3d 650, 683 (7th Cir. 2012)

   (same); Berry Peterman, 604 F.3d 435, 443 (7th Cir. 2010) (same); Perez, 792 F.3d at 779 (“A

   nurse confronted with an inappropriate or questionable practice should not simply defer to that

   practice, but rather has a professional obligation to the patient to take appropriate action, whether

   by discussing the nurse’s concerns with the treating physician or by contacting a responsible

   administrator or higher authority.”).

          Based on the evidence submitted in this case, Judge Beatty concluded that “a jury might

   reasonably conclude that Nurse Wilford repeatedly encountered Armbruster in severe pain and

   complaining that his arm was numb, that he was having trouble walking, and that he needed help

   beyond what Dr. Shah was providing, but Nurse Wilford, did, literally, nothing about it.” Doc.



                                                    11
Case 3:16-cv-00544-SMY-MAB Document 226 Filed 08/27/19 Page 12 of 15 Page ID #5579



   219 at 33; id. at 42-43. Nurse Wilford now argues, for the first time in her objection, that because

   her retained expert, Dr. Petkovich, blessed Defendant Dr. Shah’s conduct, she, a nurse, cannot be

   expected to have recognized that Dr. Shah was not providing adequate treatment to Armbruster.

   Doc. 220 at 4. Essentially, Nurse Wilford asks this Court to find that a nurse can immunize

   herself from liability for failing to intervene by paying an expert to offer opinions blessing the

   care at issue.

           By failing to raise it below, Nurse Wilford forfeited this argument. See, e.g., United

   States v. Melgar, 227 F.3d 1038, 1040 (7th Cir. 2000) (“arguments not made before a magistrate

   judge are normally waived”); United States v. Moore, 375 F.3d 580, 584 n.2 (same). But even on

   its merits, this argument fails. First, Nurse Wilford fails to acknowledge that each of Dr.

   Petkovich’s opinions about Dr. Shah’s treatment are disputed by Plaintiff’s expert, Dr. Brown,

   Doc. 157-9, whom Judge Beatty concluded a reasonable jury could credit. See Doc. 219 at 28–

   29. Accordingly, at the summary judgment stage, Dr. Petkovich’s disputed opinions about the

   adequacy of Dr. Shah’s care must be disregarded. Conley v. Bi8rch, 796 F.3d 742, 746 (7th Cir.

   2015) (all evidentiary conflicts must be resolved in the plaintiff’s favor). 5

           Additionally, the opinions of a retained physician offered years after the events at issue in

   the litigation occurred has no bearing on Nurse Wilford’s knowledge and ability to act between

   May 13, 2014 and September 15, 2014. See, e.g., Lanigan v. Vill. of E. Hazel Crest, 110 F.3d

   467, 478 (7th Cir. 1997) (liability requires knowledge of constitutional violation as it is

   occurring); Horton v. City of Chicago, 2018 WL 4699790, at *15 (N.D. Ill. Sept. 30, 2018)

   (examining what defendant knew “in the moments just before” the constitutional violation).


           5
                    Nurse Wilford attempts to obfuscate these problems by noting that Dr. Brown declined
   during his deposition to proffer an expert opinion on Nurse Wilford’s conduct. Dr. Brown, however,
   explained that he thought the care she provided Armbruster was poor but would not opine as an expert on
   the standards of care that apply to nurses. Doc. 133-7 at 23.


                                                     12
Case 3:16-cv-00544-SMY-MAB Document 226 Filed 08/27/19 Page 13 of 15 Page ID #5580



   Judge Beatty thoroughly reviewed the evidence and concluded that a reasonable jury could

   conclude, in the days between May 13, 2014 and September 15, 2014, Nurse Wilford was aware

   that Plaintiff was being denied constitutionally adequate medical care at SWICC and failed to

   take any action to intervene. See Lanigan, 110 F.3d at 478 (defendant’s ability to intervene or

   prevent the harm “is generally an issue for the trier of fact”). Nurse Wilford cannot escape that

   conclusion by paying an expert several years later, long after Plaintiff filed this lawsuit, to say

   that the care was not constitutionally inadequate.

          Nurse Wilford’s reframing of Plaintiff’s claim as “essentially that if Dr. Shah does not

   resolve[] Plaintiff’s symptoms within approximately 5 weeks that Nurse Wilford could not rely

   on Dr. Shah’s diagnostic process” is, like her other arguments, a blatant disregard for the

   summary judgment standards. Nurse Wilford wants the Court to view the evidence in the light

   most favorable to her, but she, as the moving party, is not entitled to that deference. As Judge

   Beatty explained, “While Nurse Wilford testified she did not believe Armbruster needed any

   additional medical attention beyond what Dr. Shah was providing, a jury reasonably could

   disbelieve her.” Doc. 219 at 33. As the evidence discussed above demonstrates, there is ample

   evidence in the record to establish that Nurse Wilford knew that Dr. Shah’s refusal to respond to

   Armbruster’s persistent neurological complaints was inadequate for several months, and yet did

   “literally nothing about it.” Doc. 219 at 33. As Judge Beatty concluded, a jury could reasonably

   find her liable for failing to intervene. Abdullahi v. City of Madison, 423 F.3d 763, 773-74 (7th

   Cir. 2005).

                                               Conclusion

          Judge Beatty’s recommendations on Defendants’ motion for summary judgment is sound,

   and Nurse Wilford’s partial objections to his recommendation do not hold water. For these




                                                    13
Case 3:16-cv-00544-SMY-MAB Document 226 Filed 08/27/19 Page 14 of 15 Page ID #5581



   reasons, Plaintiff asks this Court to overrule Nurse Wilford’s objections and adopt Judge

   Beatty’s Report and Recommendations in its entirety.



                                                               Respectfully submitted,

                                                               /s/ Sarah Grady
                                                               Sarah Grady
                                                               Attorney for Plaintiff

   Arthur Loevy
   Jon Loevy
   Michael Kanovitz
   Sarah Grady
   Katie Roche
   LOEVY & LOEVY
   311 North Aberdeen St., 3rd Floor
   Chicago, Illinois 60607
   (312) 243-5900




                                                  14
Case 3:16-cv-00544-SMY-MAB Document 226 Filed 08/27/19 Page 15 of 15 Page ID #5582



                             CERTIFICATE OF SERVICE

          I, Sarah Grady, an attorney, certify that on August 27, 2019, I caused the
   foregoing Plaintiff’s Response to Defendant Wilford’s Objections to Report and
   Recommendations to be filed using the Court’s CM/ECF system, which effected
   service on all counsel of record.


                                                 /s/ Sarah Grady
                                                 Sarah Grady
                                                 Attorney for Plaintiff




                                            15
